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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF FLORIDA
                                      PENSACOLA DIVISION

CARGILL, INC.,

         Plaintiff,

v.                                                                      Case No. 5:05cv92-MCR/EMT

G.R. GAINER TUG, et al,

     Defendants.
__________________________/

                                                   ORDER

         THIS MATTER is before the Court upon Plaintiff CARGILL, INC.’s (“Cargill”)
Unopposed Motion to Consolidate Civil Actions (doc. 13). This action arises from
a maritime casualty involving the sinking of Cargill’s barge NACM 98103 off the coast
of Florida in September 2004. Also pending before this Court is another civil action
arising from the same events as those of the instant case.1 In that case, MAR-K
MARINE SERVICES, INC., a defendant in the instant action, and MAR-K TOWING,
INC., seek exoneration from and/or limitation of liability related to the sinking of
Cargill’s barge NACM 98103. Upon review, the Court has determined that these
cases present common questions of law and fact and should be consolidated. See
Fed. R. Civ. P. 42(a).



         1
           See In re Mar-K Marine Services, Inc. and Mar-K Towing, Inc., as owners/operators/ owners pro hac
vice of the M/V G. R . Ga iner, for Exone ration from and /or Lim itation of Liability, Case No. 5:05cv61-MCR/EMT
filed on March 23, 2005. By order entered in that case on April 8, 2005, the Court directed Mar-K Marine
Services, Inc. and M ar-K To wing, Inc., to show cau se w hy the a ction for ex one ration and limitation of liability
should not have been transferred to the United States District Court for the Eastern District of Louisiana
pursuant to Rule F(9) of the Supplemental Rules for Ce rtain Adm iralty and M aritim e Claims where the instant
case was pending at that time. Since entry of that order, the instant case was transferred from the Un ited
States District Court for the Eastern District of Louisiana to this Court where both of the aforementioned
actions are now pending.
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Accordingly, it is ORDERED:
1)   Plaintiff’s Unopposed Motion to Consolidate Civil Actions (doc. 13) is
     GRANTED. The Clerk is directed to CONSOLIDATE Case. No. 5:05cv61
     with the instant action, Case No. 5:05cv92.

2)   All future pleadings shall be filed in Case No. 5:05cv92-MCR/EMT.

3)   The Clerk shall file a copy of this Order in Case No. 5:05cv92 and Case
     No. 5:05cv61.

ORDERED on this 16th day of May, 2005.



                                  s/   M. Casey Rodgers
                                 M. CASEY RODGERS
                                 United States District Judge
